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       EXHIBIT 20
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From: "Hartz, Jacob" <Jacob.Hartz@cardio.chboston.org>
Date: July 6, 2022 at 2:22:50 PM PDT
To: Steve trubow <trubow1@gmail.com>
Cc: "Palfrey, Hannah" <Hannah.Palfrey@cardio.chboston.org>,
thad@scrogginsesq.com, Peter Hoeller <peter.hoeller@bjfip.com>
Subject: Re: NCT04458766


﻿ Hi,

We have administered 4 tests. The tests were administered from memory. Our
enrollment protocol was answering a positive (i.e., consistent with lower
adherence) to at least one question. and then I had planned on entering and
scoring the tests on the widgets. I will need to confirm the date of the first
enrollee and have the details in my office, but am not there today. The last
MMAS will be administered within the next 2 years once we have completed
enrollment.

If any of this is serious breach of contract and you feel it necessary to end our
agreement, we would understand. We certainly did not mean to do anything
incorrectly and it was always our intention to follow our contract entirely. It
would be a tremendous loss to our study, but we want to respect our agreement
and your organization. Although the citation was included in our references, we
have now added you as a “Collaborator” because this appears to be best place to
signal your role. If there is a preferred place, please let me know and I can change
it.

Thank you. Again, our sincerest apologies if this was done incorrectly.

- Jake



Jacob Hartz, MD, MPH
Director of Preventive Cardiology
Department of Cardiology
Boston Children’s Hospital
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   From: Jacob Hartz <jacob.hartz@icloud.com>
   Sent: Tuesday, July 5, 2022 10:01 AM
   To: Steve trubow <trubow1@gmail.com>
   Cc: Hannah Palfrey <Hannah.Palfrey@cardio.chboston.org>;
   thad@scrogginsesq.com; Peter Hoeller
   <peter.hoeller@bjfip.com>
   Subject: Re: NCT04458766

   We plan on administering the questions through the widget.
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   We were planning on having a copy of the questions in case
   we do not have immediate access to the widget (our wifi and
   cell service in clinic can be spotty). All questions would then be
   entered using the widget.

   Would that be okay.



   Jacob Hartz, MD, MPH
   Department of Cardiology
   Boston Children’s Hospital
   jacob.hartz@cardio.chboston.org


        On Jul 5, 2022, at 12:11 AM, Steve trubow
        <trubow1@gmail.com> wrote:

        Dr Hartz,

        Sorry for the inconvenience, one more question.

        How will the MMAS-8 tests be administered ?

        Please remember if you administer MMAS-8 tests
        outside of the Morisky Widget, it requires Licensor
        approval, to use MMAS paper or electronic
        questionnaires.

        Best
        Steve in Tokyo
        Steven Trubow
        MMAS Research LLC USA
        Petaluma California
        MMAS Research France SAS
        Paris France
        MMAS Research Italy SRL
        Vicenza Italy
        (+1)360-824-0701
        www.morisky.org
        www.medicationsafety.healthcare
        https://eu.medicationsafety.healthcare/




        From: Steve trubow <trubow1@gmail.com>
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        Sent: Monday, July 4, 2022 8:58 PM
        To: jacob.hartz@icloud.com; Hannah.Palfrey@cardio.chboston.org
        Cc: thad@scrogginsesq.com; 'Peter Hoeller'
        <peter.hoeller@bjfip.com>; 'Steve trubow'
        <trubow1@gmail.com>
        Subject: FW: NCT04458766

        Hi Dr. Hartz,

        Thank you for your prompt response.

        Please update the clinical trials website with the
        required reference to the Morisky Widget. When
        it is updated, please send me a link.


        Thank you for your cooperation.

        Best
        Steve in Tokyo
        Steven Trubow
        MMAS Research LLC USA
        Petaluma California
        MMAS Research France SAS
        Paris France
        MMAS Research Italy SRL
        Vicenza Italy
        (+1)360-824-0701
        www.morisky.org
        www.medicationsafety.healthcare
        https://eu.medicationsafety.healthcare/




        From: Jacob Hartz jacob.hartz@icloud.com
        Sent: Monday, July 4, 2022 7:34 PM
        To: Steve trubow trubow1@gmail.com
        Cc: thad@scrogginsesq.com; peter.hoeller@bjfip.com;
        Hannah
        Palfrey Hannah.Palfrey@cardio.chboston.org
        Subject: Re: NCT04458766

        Hi,

        Hannah and I are the only ones who are
        administering MMAS. No one at Wellth will be
        administering this test. Wellth uses a different
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        mechanism to measure adherence through a
        photograph and will not take part in MMAS or have
        results of the MMAS.

        I will include the listing.

        Thank you.




        From: Steve trubow <trubow1@gmail.com>
        Sent: Sunday, July 3, 2022 5:17 PM
        To: 'jacob.hartz@icloud.com'
        <jacob.hartz@icloud.com>
        Cc: 'thad@scrogginsesq.com'
        <thad@scrogginsesq.com>;
        'peter.hoeller@bjfip.com'
        <peter.hoeller@bjfip.com>; 'Steve trubow'
        <trubow1@gmail.com>
        Subject: NCT04458766

        <image001.png>
        Dear Dr Hartz,
        I hope this email finds you well.
        MMAS Research is very concerned about the
        unauthorized use of the Wellth App in “The Use of
        Mobile Health Technology and Behavioral
        Economics to Encourage Adherence in
        Adolescents NCT04458766 study.” On the clinical
        trial website for NCT04458766 , you reported that
        “Lastly, the investigators will test the subject's
        adherence (using the Morisky Medication
        Adherence Scale and Wellth App) during the 60
        days following discontinuation of the incentives to
        determine if any effect of the incentive persists after
        the incentive is discontinued.

        In the BCH Morisky Widget license, you agreed
        that only BCH employees trained and certified by
        the Licensor may use the Morisky Widget MMAS.
         BCH can use the Morisky Widget, Morisky Kiosk
        Apple I Phone
        APP, and the Morisky API to administer Morisky
        Widget MMAS tests. With Licensor approval, BCH
        can use MMAS paper or electronic questionnaires,
        but all scoring and coding must be done in the
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        Morisky Widget.

        As I recall the only persons trained and certified to
        use the Morisky Widget MMAS were you and your
        associate. I have no recollection of training,
        certifying or authorizing the use of the MMAS-8 by
        Wellth.

        In addition Appendix 1 of your attached license
        requires that the footnote below is required in
        all web postings,

        A Morisky Widget license agreement is available
        from MMAS
        Research LLC 14725 NE 20th St., Bellevue
        Washington or strubow@morisky.org

        Can you please provide an explanation ?

        Thank you in advance for your prompt response.

        Best
        Steve
        Steven Trubow
        MMAS Research LLC USA
        Petaluma California
        MMAS Research France SAS
        Paris France
        MMAS Research Italy SRL
        Vicenza Italy
        (+1)360-824-0701
        www.morisky.org
        www.medicationsafety.healthcare
        https://eu.medicationsafety.healthcare/



                 

        From: trubow1@gmail.com <trubow1@gmail.com>
        Sent: Wednesday, October 23, 2019 9:13 AM
        To: 'Jacob Hartz' <jacob.hartz@icloud.com>
        Cc: trubow1@gmail.com; 'KENNETH I GROSS'
        <kgross@kigrosslaw.com>
        Subject: invoice for BCH license and training
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        Dr. Hartz,

        Please find attached an invoice, 2019 w-9 and wire
        instructions.
        I also attached a slide deck for the training.
        Looking forward to meeting you and your
        colleagues in Boston.
        Please let me know if you have any questions.

        Steven Trubow
        MMAS Research LLC USA
        Coronado California
        MMAS Research France SAS
        Paris France
        MMAS Research Italy SRL
        Vicenza Italy
        (+1)360-824-0701
        www.morisky.org
        SEE the new I-Phone Morisky Kiosk in the APP
        Store
